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Rev. 4/18                                                 UNITED STATES COURT OF APPEALS
                                                             FOR THE ELEVENTH CIRCUIT
                                                           CIVIL APPEAL STATEMENT




  Please TYPE.    Attach additional pages if necessary.                      11th Circuit Docket Number: ________________________________

 Caption:                                                                   District and Division: _____________________________________
                                                                            Name of Judge:         _____________________________________
                                                                            Nature of Suit:        _____________________________________
                                                                            Date Complaint Filed: _____________________________________
                                                                            District Court Docket Number: ______________________________
                                                                            Date Notice of Appeal Filed: ______________________________
                                                                               Cross Appeal       Class Action
                                                                            Has this matter previously been before this court?
                                                                               Yes        No
                                                                            If Yes, provide
                                                                            (a)     Caption: __________________________________________
                                                                            (b)     Citation: __________________________________________
                                                                            (c)     Docket Number: ____________________________________

                                          Attorney Name                     Mailing Address                   Telephone, Fax, Email
 For Appellant:
     Plaintiff
     Defendant
     Other (Specify)




 For Appellee:
     Plaintiff
     Defendant
     Other (Specify)




 Please CIRCLE/CHECK/COMPLETE the items below and on page 2 that apply.

         Jurisdiction                     Nature of Judgment                     Type of Order                              Relief

      Federal Question               Final Judgment,                      Dismissal/Jurisdiction          Amount Sought by Plaintiff:
                                     28 USC 1291                                                          $_______________________
      Diversity                                                           Default Judgment
                                     Interlocutory Order,                                                 Amount Sought by Defendant:
      US Plaintiff                   28 USC 1292(a)(1)                    Summary Judgment                $_______________________

      US Defendant                   Interlocutory Order Certified,       Judgment/Bench Trial            Awarded:
                                     28 USC 1292(b)                                                       $_______________________
                                                                          Judgment/Jury Verdict           to ______________________
                                     Interlocutory Order,
                                     Qualified Immunity                   Judgment/Directed Verdict/NOV   Injunctions:
                                                                                                              TRO
                                     Final Agency Action (Review)         Injunction                          Preliminary            Granted
                                                                                                              Permanent              Denied
                                     54(b)                                Other _____________________
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Page 2                                                                            11th Circuit Docket Number: ____________________________



 Based on your present knowledge:

 (1)     Does this appeal involve a question of First Impression?      Yes    No
         What is the issue you claim is one of First Impression? ____________________________________________________________

 (2)     Will the determination of this appeal turn on the interpretation or application of a particular case or statute?     Yes   No

         If Yes, provide
         (a) Case Name/Statute ___________________________________________________________________________________
         (b) Citation _____________________________________________________________________________________________
         (c) Docket Number if unreported ___________________________________________________________________________

 (3)     Is there any case now pending or about to be brought before this court or any other court or administrative agency that
         (a) Arises from substantially the same case or controversy as this appeal?          Yes        No
         (b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?  Yes      No

         If Yes, provide
         (a) Case Name _________________________________________________________________________________________
         (b) Citation ____________________________________________________________________________________________
         (c) Docket Number if unreported __________________________________________________________________________
         (d) Court or Agency _____________________________________________________________________________________

 (4)     Will this appeal involve a conflict of law
         (a) Within the Eleventh Circuit?           Yes    No
         (b) Among circuits?          Yes        No

         If Yes, explain briefly:




 (5)     Issues proposed to be raised on appeal, including jurisdictional challenges:




I CERTIFY THAT I SERVED THIS CIVIL APPEAL STATEMENT ON THE CLERK OF THE U.S. COURT OF APPEALS FOR THE ELEVENTH CIRCUIT AND

SERVED A COPY ON EACH PARTY OR THEIR COUNSEL OF RECORD, THIS ____________ DAY OF ___________________________, ____________.



_______________________________________________________                        _______________________________________________________
                 NAME OF COUNSEL (Print)                                                          SIGNATURE OF COUNSEL
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                                   ADDENDUM

Case Names
Bishop v. Aronov, 926 F. 2d 1066 (11th Cir. 1991)
Keyishian v. Board of Regents, 35 U.S. 589 (1967)
Sweezy v. New Hampshire, 354 U.S. 234 (1957)
Rosenberger v. Rector & Visitors of the University of Virginia, 515 U.S. 819
      (1995)

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